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              UNITED STATES DISTRICT COURT
                 DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                        Criminal 2:09-299(SRC) (2)




                                                JUDGMENT OF ACQUITTAL
JAMES CROSS




     This cause having come on for trial before the
                                                    Court,              with
a jury,   and after due deliberation,     the jury having returned a

verdict of NOT GUILTY,




     It is on this 24th day of November,         2009,



     0 R D E R E D that the defendant,        JAMES CROSS

is NOT GUILTY of the offenses charged in Counts
                                                2

of the indictment.
